Fill in this information to identify the case:

Debtor name         HWC Burbs Burgers, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)    23-11919
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       March 18, 2024                  X /s/ Joshua Henderson
                                                           Signature of individual signing on behalf of debtor

                                                            Joshua Henderson
                                                            Printed name

                                                            Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




           Case 23-11919-CMA                     Doc 91        Filed 03/18/24             Ent. 03/18/24 21:56:28              Pg. 1 of 25
 Fill in this information to identify the case:

 Debtor name            HWC Burbs Burgers, LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF WASHINGTON

 Case number (if known)               23-11919
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           345,500.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           345,500.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           118,156.13


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           560,068.75

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           554,031.87


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,232,256.75




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com



               Case 23-11919-CMA                                      Doc 91                Filed 03/18/24                         Ent. 03/18/24 21:56:28                          Pg. 2 of 25
Fill in this information to identify the case:

Debtor name         HWC Burbs Burgers, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)       23-11919
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     BECU                                              Checking                              9630                                             $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                           $0.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                          0.00     -                                     0.00 = ....                                     $0.00
                                        face amount                         doubtful or uncollectible accounts



Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                                      page 1



            Case 23-11919-CMA                     Doc 91      Filed 03/18/24            Ent. 03/18/24 21:56:28                    Pg. 3 of 25
Debtor       HWC Burbs Burgers, LLC                                                     Case number (If known) 23-11919
             Name



12.       Total of Part 3.                                                                                                             $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                           Net book value of      Valuation method used      Current value of
          Include year, make, model, and identification numbers         debtor's interest      for current value          debtor's interest
          (i.e., VIN, HIN, or N-number)                                 (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Georgetown Location:
          Restaurant Equipment & Inventory                                            $0.00    Liquidation                          $51,000.00


          Montlake Location:
          Restaurant Equipment & Inventory                                            $0.00    Liquidation                         $159,000.00




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                      page 2



           Case 23-11919-CMA                    Doc 91         Filed 03/18/24         Ent. 03/18/24 21:56:28           Pg. 4 of 25
Debtor        HWC Burbs Burgers, LLC                                                       Case number (If known) 23-11919
              Name

           Ballard Location
           Restaurant Equipment & Inventory                                              $0.00     Liquidation                    $18,000.00


           Belleview Location
           Restaurant Equipment & Inventory                                              $0.00     Liquidation                    $15,500.00


           Pioneer Square
           Location: Restaurant Equipment & Inventory
           (Property owned by Quality Athletics and
           secured by UCC-1 in property valued at
           $15,000)                                                                      $0.00     Liquidation                    $27,000.00


           Burien Location: Food Truck                                                   $0.00     Liquidation                    $75,000.00



51.        Total of Part 8.                                                                                                   $345,500.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                   page 3



            Case 23-11919-CMA                    Doc 91          Filed 03/18/24         Ent. 03/18/24 21:56:28           Pg. 5 of 25
Debtor          HWC Burbs Burgers, LLC                                                                              Case number (If known) 23-11919
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $345,500.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $345,500.00           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $345,500.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 4



              Case 23-11919-CMA                              Doc 91             Filed 03/18/24                   Ent. 03/18/24 21:56:28                 Pg. 6 of 25
Fill in this information to identify the case:

Debtor name         HWC Burbs Burgers, LLC

United States Bankruptcy Court for the:           WESTERN DISTRICT OF WASHINGTON

Case number (if known)             23-11919
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                     Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim              Value of collateral
                                                                                                                                              that supports this
                                                                                                                 Do not deduct the value      claim
                                                                                                                 of collateral.
      Kalamata Capital Group,
2.1                                                                                                                       $55,000.00                  Unknown
      LLC                                          Describe debtor's property that is subject to a lien
      Creditor's Name                              Claimed interest in cash collateral and
      80 Broad Street                              personal property
      Suite 1210
      New York, NY 10004
      Creditor's mailing address                   Describe the lien
                                                   UCC-1
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      01/21/22                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



      Square Financial Services,
2.2                                                                                                                       $63,156.13                  Unknown
      Inc                                          Describe debtor's property that is subject to a lien
      Creditor's Name                              Claimed interest in cash collateral and
      3165 East Mill Rock Drive                    personal property
      Suite 160
      Salt Lake City, UT 84121
      Creditor's mailing address                   Describe the lien
                                                   UCC-1
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 2




            Case 23-11919-CMA                         Doc 91           Filed 03/18/24              Ent. 03/18/24 21:56:28                  Pg. 7 of 25
Debtor      HWC Burbs Burgers, LLC                                                               Case number (if known)       23-11919
            Name

      Do multiple creditors have an              As of the petition filing date, the claim is:
      interest in the same property?             Check all that apply
          No                                        Contingent
          Yes. Specify each creditor,               Unliquidated
      including this creditor and its relative
      priority.                                     Disputed




3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.           $118,156.13

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2




            Case 23-11919-CMA                       Doc 91           Filed 03/18/24              Ent. 03/18/24 21:56:28                 Pg. 8 of 25
Fill in this information to identify the case:

Debtor name        HWC Burbs Burgers, LLC

United States Bankruptcy Court for the:         WESTERN DISTRICT OF WASHINGTON

Case number (if known)           23-11919
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Attorney General for WA State                       Check all that apply.
          Bankruptcy & Collections Unit                          Contingent
          800 Fifth Ave, 20th Floor                              Unliquidated
          Seattle, WA 98104                                      Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Notice Only
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                           $59,475.00          $59,475.00
          IRS                                                 Check all that apply.
          Centralized Insolvency                                 Contingent
          P.O. Box 7346                                          Unliquidated
          Philadelphia, PA 19101-7346                            Disputed

          Date or dates debt was incurred                     Basis for the claim:
          2022 and 2023                                       Employment Taxes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 4
                                                                                                              28297



             Case 23-11919-CMA                       Doc 91           Filed 03/18/24                 Ent. 03/18/24 21:56:28                Pg. 9 of 25
Debtor       HWC Burbs Burgers, LLC                                                                     Case number (if known)     23-11919
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                    $0.00       $0.00
          United States Attorneys Office                       Check all that apply.
          Attn: Bankruptcy Assistant                              Contingent
          700 Stewart Street, Room 5220                           Unliquidated
          Seattle, WA 98101                                       Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Notice Only
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                           $450,962.68          $346,666.41
          WA Dept of Revenue                                   Check all that apply.
          1904 Humboldt St, Ste A                                 Contingent
          Bellingham, WA 98225                                    Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
          Various                                              UBI/Sales Tax
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.5       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                             $38,128.64         $36,488.71
          WA Employment Security Dept                          Check all that apply.
          PO Box 34949                                            Contingent
          Seattle, WA 98124-1949                                  Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
          Various                                              Unemployment Insurance
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.6       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                             $11,502.43         $11,502.43
          WA State L&I                                         Check all that apply.
          PO Box 44000                                            Contingent
          Olympia, WA 98504                                       Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2022                                                 Workers Comp Premium
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 4




            Case 23-11919-CMA                       Doc 91           Filed 03/18/24                  Ent. 03/18/24 21:56:28                  Pg. 10 of 25
Debtor       HWC Burbs Burgers, LLC                                                                 Case number (if known)            23-11919
             Name

3.1       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $140,000.00
          Advantage Funding                                                   Contingent
          104 East 25th Street                                                Unliquidated
          New York, NY 10010                                                  Disputed
          Date(s) debt was incurred 01/20/22
                                                                           Basis for the claim: Loan
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $30,000.00
          Cloud Fund, LLC
          Delta Bridge Funding, LLC                                           Contingent
          18851 NE 29th Ave.                                                  Unliquidated
          Suite 700                                                           Disputed
          Miami, FL 33180
                                                                           Basis for the claim: Loan
          Date(s) debt was incurred 01/25/22
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.3       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $67,080.70
          National Funding/                                                   Contingent
          Quickbridge Funding                                                  Unliquidated
          9530 Towne Centre Dr., Suite
          San Diego, CA 92121                                                  Disputed

          Date(s) debt was incurred                                        Basis for the claim: Loan

          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes

3.4       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $66,951.17
          Pearl Delta Funding, LLC
          c/o Theodore Cohen                                                  Contingent
          112 West 34th Street                                                 Unliquidated
          18th Floor, BMB 27813                                                Disputed
          New York, NY 10120
                                                                           Basis for the claim: Loan
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.5       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $250,000.00
          Toast Capital                                                       Contingent
          401 Park Drive                                                       Unliquidated
          Boston, MA 02215
                                                                               Disputed
          Date(s) debt was incurred 08/22/23
                                                                           Basis for the claim: Loans 1 through 4
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.6       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          WebBank                                                             Contingent
          215 State Street                                                     Unliquidated
          Salt Lake City, UT 84111
                                                                               Disputed
          Date(s) debt was incurred 2023
                                                                           Basis for the claim: Notice
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                    related creditor (if any) listed?                account number, if
                                                                                                                                                     any


Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 4




            Case 23-11919-CMA                       Doc 91          Filed 03/18/24                Ent. 03/18/24 21:56:28                         Pg. 11 of 25
Debtor      HWC Burbs Burgers, LLC                                                      Case number (if known)       23-11919
            Name

Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                              5a.       $                    560,068.75
5b. Total claims from Part 2                                                              5b.   +   $                    554,031.87

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.       $                    1,114,100.62




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 4 of 4




           Case 23-11919-CMA                   Doc 91         Filed 03/18/24          Ent. 03/18/24 21:56:28                     Pg. 12 of 25
Fill in this information to identify the case:

Debtor name       HWC Burbs Burgers, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)     23-11919
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Employee Health
           lease is for and the nature of        Insurance
           the debtor's interest

               State the term remaining

           List the contract number of any                                          Health Insurance Contract
                 government contract


2.2.       State what the contract or            Lincoln Square South -
           lease is for and the nature of        Burb's Burgers
           the debtor's interest                 (Amount claimed:
                                                 $120,516.50)
                                                 Lincoln Square
                                                 Merchants Association
                                                 - Burb's Burgers
                                                 (Amount claimed: $
                                                 5,107.60)
               State the term remaining          52 Months
                                                                                    LS2 Retail, LLC
           List the contract number of any                                          575 Bellevue
                 government contract                                                Los Angeles, CA 90004


2.3.       State what the contract or            Assumed Lease -
           lease is for and the nature of        Burb's Burgers
           the debtor's interest                 (Amount claimed
                                                 $264,423.06)                       Pioneer Square Development LLC
               State the term remaining                                             c/o R.D. Merrill Real Estate
                                                                                    Holdings LLC
           List the contract number of any                                          1938 Fairview Ave., Suite 300
                 government contract                                                Seattle, WA 98102-3650




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 2




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Debtor 1 HWC Burbs Burgers, LLC                                                  Case number (if known)   23-11919
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.4.      State what the contract or        Food Truck Ground
          lease is for and the nature of    Lease - Montlake
          the debtor's interest             (Temporary Market) -
                                            Burb's Burgers              Washington State Dept of Trans
             State the term remaining                                   Attn: Prop. Mgmt. Prog. Mgr
                                                                        P.O. Box 47339
          List the contract number of any                               Program Manager
                government contract                                     Olympia, WA 98504-7339




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 2 of 2




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Fill in this information to identify the case:

Debtor name      HWC Burbs Burgers, LLC

United States Bankruptcy Court for the:   WESTERN DISTRICT OF WASHINGTON

Case number (if known)   23-11919
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Joshua David                5617 236th Ave., NE                                       Pearl Delta Funding,               D
          Henderson                   Redmond, WA 98053                                         LLC                                E/F       3.4
                                                                                                                                   G




   2.2    Joshua David                5617 236th Ave., NE                                       Cloud Fund, LLC                    D
          Henderson                   Redmond, WA 98053                                                                            E/F       3.2
                                                                                                                                   G




   2.3    Quality Athletics                                                                     Cloud Fund, LLC                    D
                                                                                                                                   E/F       3.2
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1



         Case 23-11919-CMA                   Doc 91         Filed 03/18/24           Ent. 03/18/24 21:56:28                 Pg. 15 of 25
Fill in this information to identify the case:

Debtor name         HWC Burbs Burgers, LLC

United States Bankruptcy Court for the:    WESTERN DISTRICT OF WASHINGTON

Case number (if known)    23-11919
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                             $2,700,000.00
      From 1/01/2023 to Filing Date
                                                                                          Other    Sales


      For prior year:                                                                     Operating a business                             $2,496,665.80
      From 1/01/2022 to 12/31/2022
                                                                                          Other    Sales


      For year before that:                                                               Operating a business                             $1,586,734.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other    Sales

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1




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Debtor       HWC Burbs Burgers, LLC                                                             Case number (if known) 23-11919



    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   Joshua Henderson                                      10/09/22 -                      $183,787.54           Manager Draws for services
             5617 236th Ave., NE                                   10/09/23                                              rendered
             Redmond, WA 98053
             Member

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   Pearl Delta Funding, LLC v.               Civil Judgment              Supreme Court of the State                    Pending
             HWC Burbs Burgers LLC et                                              of New York                                   On appeal
             al.                                                                   County of Kings
                                                                                                                                 Concluded
             504693/2022

      7.2.   Quick Bridge Funding, LLC v.              Civil Judgment              Superior Court of California                  Pending
             HWC Burbs Burgers LLC et.                                             County of Orange                              On appeal
             al.
                                                                                                                                 Concluded
             30-2022-01271976-CU-BC-CJC

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2




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Debtor        HWC Burbs Burgers, LLC                                                              Case number (if known) 23-11919



              Recipient's name and address             Description of the gifts or contributions                 Dates given                           Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                  Dates of loss            Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Neeleman Law Group, P.C.                  Pre Petition Attorney Fees: $5,000.00
               1403 8th Street                           Filing Fee: $1,738.00
               Marysville, WA 98270                      Funds Held in Trust: $3,262.00                                09/25/23                  $10,000.00

               Email or website address
               courtmail@expresslaw.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                    Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.




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Debtor        HWC Burbs Burgers, LLC                                                             Case number (if known) 23-11919




          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services              If debtor provides meals
                                                       the debtor provides                                                       and housing, number of
                                                                                                                                 patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was               Last balance
              Address                                  account number              instrument                  closed, sold,              before closing or
                                                                                                               moved, or                           transfer
                                                                                                               transferred
      18.1.     Bank of America                        XXXX-9165                      Checking                 2022                              Unknown
                3601 Stone Way N                                                      Savings
                Seattle, WA
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents             Does debtor
                                                             access to it                                                                  still have it?
                                                             Address

Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4




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Debtor      HWC Burbs Burgers, LLC                                                               Case number (if known) 23-11919



20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None


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Debtor      HWC Burbs Burgers, LLC                                                              Case number (if known) 23-11919



   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Arch Accounting - Bookkeeper                                                                                       02/26/20 - 10/09/23


      26a.2.        John Town                                                                                                          02/26/20 - Current
                    Newman Town

      26a.3.        Gregorio Morales - Bookkeeper                                                                                      10/01/23 - Current



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                   Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      Joshua Henderson                        5617 236th Ave., NE                                 Managing Member                               100%
                                              Redmond, WA 98053



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 6




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Debtor      HWC Burbs Burgers, LLC                                                             Case number (if known) 23-11919




30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Joshua Henderson                                                                                     10/09/22 -          Net Member
      .                                               $183,787.54                                               10/09/23            Draws

             Relationship to debtor
             Managing Member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         March 18, 2024

/s/ Joshua Henderson                                            Joshua Henderson
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8




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B2030 (Form 2030) (12/15)
                                                         United States Bankruptcy Court
                                                              Western District of Washington
 In re       HWC Burbs Burgers, LLC                                                                           Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $      To Be Determined
             Prior to the filing of this statement I have received                                        $                 $5,000.00
             Balance Due                                                                                  $      To Be Determined

2.    $     1,738.00       of the filing fee has been paid.

3.    The source of the compensation paid to me was:
                  Debtor              Other (specify):

4.    The source of compensation to be paid to me is:
                  Debtor              Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]

General representation in Chapter 7.

7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     3/11/24                                                                  /s/ Thomas Neeleman
     Date                                                                     Thomas D. Neeleman 33980
                                                                              Signature of Attorney
                                                                              Neeleman Law Group, P.C.
                                                                              1403 8th Street
                                                                              Marysville, WA 98270
                                                                              (425) 212-4800 Fax: (425) 212-4802
                                                                              courtmail@expresslaw.com
                                                                              Name of law firm




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                                               United States Bankruptcy Court
                                                   Western District of Washington
 In re   HWC Burbs Burgers, LLC                                                                  Case No.    23-11919
                                                                    Debtor(s)                    Chapter     7




                                   VERIFICATION OF CREDITOR MATRIX


I, the Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     March 18, 2024                                /s/ Joshua Henderson
                                                        Joshua Henderson/Member
                                                        Signer/Title




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